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            In the United States Court of Federal Claims
                                           BID PROTEST
                                     Nos. 19-1268C & 19-1417C
                               Filed Under Seal: December 13, 2019*
                                     Reissued: January 10, 2020

                                                  )
    NAVISTAR DEFENSE, LLC,                        )
                                                  )
         Plaintiff,                               )
                                                  )
    v.                                            )
                                                  )       Post-Award Bid Protest; Competition in
    THE UNITED STATES,                            )       Contracting Act (“CICA”); Sole-Source
                                                  )       Award; 41 U.S.C. § 3304; FAR § 1.704;
         Defendant,                               )       FAR § 6.302-7; Motion For Judgment
                                                  )       Upon The Administrative Record; RCFC
    v.                                            )       52.1.
                                                  )
    OSHKOSH DEFENSE, LLC,                         )
                                                  )
         Defendant-Intervenor.                    )
                                                  )

                                                  )
    NAVISTAR DEFENSE, LLC,                        )
                                                  )
         Plaintiff,                               )
                                                  )
    v.                                            )
                                                  )
    THE UNITED STATES,                            )
                                                  )
         Defendant.                               )
                                                  )




*
  This Memorandum Opinion and Order was originally filed under seal on December 13, 2019 (ECF No.
62). The parties were given an opportunity to advise the Court of their views with respect to what
information, if any, should be redacted from the Memorandum Opinion and Order. The parties filed a
joint status report on January 10, 2020 stating that no redactions are necessary (ECF No. 64). And so, the
Court is reissuing its Memorandum Opinion and Order, dated December 13, 2019.
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intervenor.

                         MEMORANDUM OPINION AND ORDER

GRIGGSBY, Judge

I.     INTRODUCTION

       In these two directly-related post-award bid protest matters, Navistar Defense, LLC
(“Navistar”) challenges the United States Department of the Army’s (“Army”) decision to
procure certain tactical vehicles from Oshkosh Defense, LLC (“Oshkosh”), in connection with a
2019 sole-source contracting action. See generally 1st Compl. Navistar also challenges the
Army’s alleged failure to comply with the automatic stay requirement under the Competition in
Contracting Act (“CICA”) during Navistar’s Government Accountability Office (“GAO”)
protest of the Army’s contracting action. See generally 2nd Compl. As relief, Navistar requests,
among other things, that the Court require the Army to terminate and cancel any orders awarded
pursuant to the 2019 sole-source contracting action and to declare that the Army’s failure to
cease performance of the orders protested by Navistar before the GAO was arbitrary, capricious,
or contrary to law. See generally 1st Compl.; 2nd Compl.

       The parties have filed cross-motions for judgment upon the administrative record,
pursuant to Rule 52.1 of the Rules of the United States Court of Federal Claims (“RCFC”). See
generally Pl. 1st Mot.; Pl. 2nd Mot.; Def. Mot.; Def.-Int. Mot. Navistar has also moved to strike
the Declaration of Lt. Col. Michael K. Riley; the Army’s Determination and Findings dated
September 19, 2016; and certain references to a July 12, 2019, telephone call between counsel,
filed in support of the government’s consolidated cross-motion. Pl. 1st Mot. to Strike; Pl. 2nd
Mot. to Strike. Navistar has also filed motions for a temporary restraining order and for a




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preliminary injunction, and to complete the administrative record and for leave to conduct
limited depositions. Pl. Mot. for TRO and PI; Pl. Mot. to Complete AR.

       For the reasons discussed below, the Court: (1) DENIES Navistar’s motions for
judgment upon the administrative record; (2) GRANTS the government’s consolidated cross-
motion for judgment upon the administrative record; (3) GRANTS Oshkosh’s cross-motion for
judgment upon the administrative record; (4) GRANTS-IN-PART Navistar’s motion to strike
the Declaration of Lt. Col. Michael K. Riley; (5) GRANTS Navistar’s motion to strike the
Army’s Determination and Findings dated September 19, 2016, and certain references to the July
12, 2019, telephone call between counsel; (6) DENIES-AS-MOOT Navistar’s motions for a
temporary restraining order and for a preliminary injunction, and to complete the administrative
record and for leave to conduct limited depositions; and (7) DISMISSES the complaints.

II.    FACTUAL AND PROCEDURAL BACKGROUND1

       A.      Factual Background

       In these directly-related post-award bid protest matters, Navistar challenges the Army’s
decision to procure certain tactical vehicles from Oshkosh in connection with a 2019 sole-source
contracting action. See generally 1st Compl. Navistar also challenges the Army’s alleged failure
to comply with the automatic stay requirement under CICA, during Navistar’s protest of the
Army’s contracting action before the GAO. See generally 2nd Compl.
               1.      The FMTV Contract

       As background, in 2009, the Army awarded Contract W56HZV-09-D-0159 (the “FMTV
Contract”) for the production of the A1P2 variant of tactical vehicles to Oshkosh as part of the
Army’s family of medium tactical vehicles program. See generally AR Tab 14. The tactical
vehicles procured under the FMTV Contract are multi-purpose transport and utility vehicles that
are rapidly deployable for worldwide operations, for use in both combat operations and civil
disaster relief. AR Tab 106 at 5895.



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  The facts recited in this Memorandum Opinion and Order are taken from the administrative record
(“AR”); Navistar’s motions for judgment upon the administrative record (“Pl. 1st Mot.” and “Pl. 2nd
Mot.”); the government’s consolidated cross-motion for judgment upon the administrative record (“Def.
Mot.”); and Oshkosh’s cross-motion for judgment upon the administrative record (“Def.-Int. Mot.”).
Except where otherwise noted, the facts cited herein are undisputed.


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       The solicitation for the FMTV Contract provides that “the purpose of this Requirements
contract is to provide the Government with the ability to acquire Family of Medium Tactical
Vehicles (FMTVs) in any configuration as described herein.” AR Tab 5 at 337. While no
minimum or maximum order quantity is specified in the FMTV Contract, the solicitation
provides that an initial award of 875 trucks and 681 trailers is planned for FY09 and that a total
of 23,341 vehicles is estimated to be required over the initial 5-year contract period. Id.

       The FMTV Contract was initially set to expire on September 30, 2014. AR Tab 110 at
5948. But, the Army issued a series of contract modifications that extended the contract’s
expiration date to August 25, 2019. See generally AR Tabs 48, 58, 64, 66, 74, 90, 106-110.

       Specifically, on September 30, 2014, the Army issued a justification and approval to
extend the term of the FMTV Contract from September 2014 to September 2015. AR Tab 110 at
5948. Thereafter, the Army issued another justification and approval to add an additional 1,262
vehicles to the FMTV Contract in June 2015. AR Tab 109 at 5935.

       On July 24, 2015, the Army issued a justification and approval to further extend the
FMTV Contract to September 2016. AR Tab 108 at 5926, 5932. On January 29, 2016, the
Army issued yet another justification and approval adding an additional 1,551 vehicles to the
FMTV Contract. AR Tab 107 at 5912, 5925.

               2.      The September 2016 Justification And Approval

       Specifically relevant to this dispute, in September 2016, the Army issued a justification
and approval that extends the FMTV Contract until August 25, 2019 (the “September 2016
J&A”). AR Tab 106 at 5895. The September 2016 J&A provides for additional funding—
estimated to be $575 million—to “procure an estimated 1,774 FMTVs.” Id. The Army justified
this modification to the FMTV Contract upon the grounds that “an unacceptable delay . . . will
occur if this contract action is competed” and that “[o]nly the FMTVs from Oshkosh can meet
the customer’s validated requirements within the required timeframe.” Id. at 5898, 5902.

               3.      Navistar’s 2016 GAO Protest

       After the Army modified the FMTV Contract in September 2016, Navistar protested the
Army’s decision to extend the FMTV Contract and to procure additional tactical vehicles before




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the GAO. 1st Compl. at ¶ 39. Navistar and the Army subsequently settled that protest. AR Tab
2 at 212-14. The settlement agreement between the parties provides, in relevant part, that:

       This Settlement Agreement constitutes a full release and satisfaction of
       Navistar Defense of any and all claims, actual or perceived, known or
       unknown, arising out of Navistar Defense’s GAO Protests No. B-401865.9,
       B-401865.10, and B-401865.11. Except as provided in paragraph 6 above,
       Navistar Defense remises, releases and discharges the Army, its officers,
       and employees of and from all civil liabilities, obligations, claims, appeals
       and demands which it now has or hereafter may have, arising out of or in
       any way related to Navistar Defense’s GAO Protests No. B-401865.9, B-
       401865.10, and B-401865.11.

AR Tab 2 at 213-214.

               4.      The Army’s 2019 Sole-Source Contracting Action

       Beginning in February 2019, the Army ordered additional tactical vehicles from Oshkosh
under the FMTV Contract. AR Tab 121.4 at 6995-96; AR Tab 121.6 at 7014-15. On June 17,
2019, the Army issued a Determination and Findings (the “2019 D&F”), which authorizes a
modification of the FMTV Contract to “[extend] the delivery period [for the FMTV Contract]
from 24 August 2020 to 24 August 2021, for a total of 12 years, for all orders issued during the
contract’s 10 year ordering period.” AR Tab 111 at 5959. The 2019 D&F explains that
“exceptional circumstances” require extending the delivery period under the FMTV Contract,
namely that “[t]he extension [of the delivery period under the FMTV Contract] bridges the
production gap between [the FMTV A1P2 tactical vehicle and a new FMTV A2 tactical vehicle]
and mitigates impacts to the industrial base.” Id. at 5958.

       On June 20, 2019, the Army amended the September 2016 J&A to increase the estimated
number of vehicles that would be required under the FMTV Contract from 1,774 vehicles to
3,690 vehicles, and to increase the estimated value of the contract from $575 million to $895
million. AR Tab 105 at 5886. The Army justified this contract modification upon the ground
that “there are less than 3 months remaining to issue any orders for [FMTV A1P2 tactical
vehicles] prior to the 25 August 2019 FMTV A1P2 contract expiration date.” Id. at 5889. The
Army’s June 20, 2019 amendment also explains that “[t]his amendment will add an estimated
1,916 trucks valued at an estimated additional $320 [million] due to unanticipated additional
ordered quantities from FMS and other DoD customers.” Id.



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               5.      Navistar’s 2019 GAO Protest

        On July 8, 2019, Navistar filed a protest before the GAO challenging the Army’s 2019
sole-source contracting action. AR Tab 1 at 2. Navistar voluntarily withdrew this protest on
August 26, 2019. AR Tab 168 at 11798.

        Navistar subsequently commenced these two bid protest matters on August 23, 2019, and
September 16, 2019, respectively. See generally 1st Compl; 2nd Compl.

        B.     Procedural Background

        Navistar commenced these post-award bid protest matters on August 23, 2019,
(“Navistar 1”) and September 16, 2019 (“Navistar 2”), respectively. See generally 1st Compl;
2nd Compl. On August 26, 2019, Oshkosh filed an unopposed motion to intervene in Navistar 1,
which the Court granted on August 27, 2019. See generally Mot. to Intervene; Order, Aug. 27,
2019.

        On August 23, 2019, Navistar filed motions for a temporary restraining order and for a
preliminary injunction in Navistar 1. See generally Pl. Mot. for TRO and PI. On September 17,
2019, Navistar filed a motion to complete the administrative record and for leave to conduct
limited depositions in Navistar 1. See generally Pl. Mot. to Complete AR.

        On October 11, 2019, Navistar filed motions for judgment upon the administrative record
in both cases. See generally Pl. 1st Mot.; Pl. 2nd Mot. On October 25, 2019, the government
filed a consolidated response and opposition to Navistar’s motions for judgment upon the
administrative record and a cross-motion for judgment upon the administrative record. See
generally Def. Mot.

        On October 25, 2019, Oshkosh filed a response and opposition to Navistar’s motion for
judgment upon the administrative record and a cross-motion for judgment upon the
administrative record in Navistar 1. See generally Def.-Int. Mot. On October 30, 2019, Navistar
filed motions to strike portions of the government’s consolidated motion for judgment upon the
administrative record and certain exhibits thereto, or, in the alternative, to complete the
administrative record. See generally Pl. 1st Mot. to Strike; Pl. 1st Mem.; Pl. 2nd Mot. to Strike.

        On November 1, 2019, Navistar filed a response and opposition to the government’s and
Oshkosh’s respective cross-motions for judgment upon the administrative record and a reply in


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support of its motions for judgment upon the administrative record. See generally Pl. 1st Resp.;
Pl. 2nd Resp. On November 12, 2019, the government filed a consolidated reply brief in support
of its cross-motion for judgment upon the administrative record. See generally Def. Reply. On
November 12, 2019, Oshkosh filed a reply brief in support of its cross-motion for judgment upon
the administrative record. See generally Def.-Int. Reply.

          On November 26, 2019, the Court held oral argument on the parties’ motions. See
generally Oral Arg. Tr. These matters having been fully briefed, the Court resolves the pending
motions.

III.      LEGAL STANDARDS

          A.     Bid Protest Jurisdiction

          The Tucker Act grants the United States Court of Federal Claims jurisdiction over bid
protests brought by “an interested party objecting to a solicitation by a Federal agency for bids or
proposals for a proposed contract or to a proposed award or the award of a contract or any
alleged violation of statute or regulation in connection with a procurement or a proposed
procurement.” 28 U.S.C. § 1491(b)(1). In bid protest cases, this Court reviews agency actions
under the Administrative Procedure Act’s (“APA”) “arbitrary and capricious” standard. See 28
U.S.C. § 1491(b)(4) (adopting the standard of review set forth in the APA). Under this standard,
an “‘award may be set aside if either (1) the procurement official’s decision lacked a rational
basis; or (2) the procurement procedure involved a violation of regulation or procedure.’”
Banknote Corp. of Am., Inc. v. United States, 365 F.3d 1345, 1351 (Fed. Cir. 2004) (quoting
Impresa Construzioni Geom. Domenico Garufi v. United States, 238 F.3d 1324, 1332 (Fed. Cir.
2001)).

          In this regard, the United States Court of Appeals for the Federal Circuit has explained
that, “[w]hen a challenge is brought on the first ground, the test is ‘whether the contracting
agency provided a coherent and reasonable explanation of its exercise of discretion, and the
disappointed bidder bears a “heavy burden” of showing that the award decision had no rational
basis.’” Id. (quoting Impresa, 238 F.3d at 1332-33). “‘When a challenge is brought on the
second ground, the disappointed bidder must show a clear and prejudicial violation of applicable
statutes or regulations.’” Id. (quoting Impresa, 238 F.3d at 1333). In addition, when reviewing
an agency’s procurement decision, the Court should recognize that the agency’s decision is


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entitled to a “presumption of regularity.” Citizens to Preserve Overton Park, Inc. v. Volpe, 401
U.S. 402, 415 (1971), abrogated by Califano v. Sanders, 430 U.S. 99 (1977). “The [C]ourt
should not substitute its judgment for that of a procuring agency . . . .” Cincom Sys., Inc. v.
United States, 37 Fed. Cl. 663, 672 (1997). And so, “[t]he protestor must show, by a
preponderance of the evidence, that the agency’s actions were either without a reasonable basis
or in violation of applicable procurement law.” Info. Tech. & Applics. Corp. v. United States, 51
Fed. Cl. 340, 346 (2001), aff’d, 316 F.3d 1312 (Fed. Cir. 2003) (citation omitted).

       The Court’s standard of review “is highly deferential.” Advanced Data Concepts, Inc. v.
United States, 216 F.3d 1054, 1058 (Fed. Cir. 2000). As long as there is “‘a reasonable basis for
the agency’s action, the [C]ourt should stay its hand even though it might, as an original
proposition, have reached a different conclusion.’” Honeywell, Inc. v. United States, 870 F.2d
644, 648 (Fed. Cir. 1989) (quoting M. Steinthal & Co. v. Seamans, 455 F.2d 1289, 1301 (D.C.
Cir. 1971)). But, if “the agency ‘entirely fail[s] to consider an important aspect of the problem,
[or] offer[s] an explanation for its decision that runs counter to the evidence before the agency,’”
then the resulting action lacks a rational basis and, therefore, is defined as “arbitrary and
capricious.” Ala. Aircraft Indus., Inc.-Birmingham v. United States, 586 F.3d 1372, 1375 (Fed.
Cir. 2009) (quoting Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43
(1983)).
       B.      Judgment Upon The Administrative Record

       Unlike a summary judgment motion brought pursuant to RCFC 56, “the existence of
genuine issues of material fact does not preclude judgment on the administrative record” under
RCFC 52.1. Tech. Sys., Inc. v. United States, 98 Fed. Cl. 228, 242-43 (2011); see RCFC 56.
Rather, the Court’s inquiry is whether, “given all the disputed and undisputed facts, a party has
met its burden of proof based on the evidence in the record.” A&D Fire Prot., Inc. v. United
States, 72 Fed. Cl. 126, 131 (2006) (citing Bannum, Inc. v. United States, 404 F.3d 1346, 1356
(Fed. Cir. 2005)).

       C.      The Competition In Contracting Act And Cardinal Change

       The Competition in Contracting Act generally requires that procuring agencies engage in
full and open competition. 41 U.S.C. § 3301(a). But, the government may choose to forego full
and open competition and issue a sole-source contract under certain circumstances. 10 U.S.C. §


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2304(c)(1)-(3); see also Innovation Dev. Enterprises of Am., Inc. v. United States, 108 Fed. Cl.
711, 723 (2013).

       If an agency plans to conduct a sole-source procurement, it must document that decision
through a justification and approval. 10 U.S.C. § 2304(f)(1), (3); Innovation Dev. Enterprises of
Am., Inc., 108 Fed. Cl. at 723. A justification and approval requires a written justification of the
government’s actions, certification of the accuracy of the statements and a signature from either
a contracting officer or senior government official. See 10 U.S.C. § 2304(f)(3).
       A sole-source award may be set aside, if it lacks a rational basis or violates a statute or
regulation. Emery Worldwide Airlines, Inc. v. United States, 264 F.3d 1071, 1086 (Fed. Cir.
2001). In this regard, the Federal Circuit has held that a cardinal change—a modification to a
contract that is outside the scope of the original procurement—violates CICA and renders the
government in breach. AT&T Communications, Inc., 1 F.3d 1201, 1205 (Fed. Cir. 1993)
(holding that “‘a cardinal change . . . occurs when the government effects an alteration in the
work so drastic that it effectively requires the contractor to perform duties materially different
from those originally bargained for.’”) (quoting Allied Materials & Equip. Co. v. United States,
215 Ct. Cl. 406 (1978))); see also 41 U.S.C. §3301(a)(1). And so, the full and open competition
requirement under CICA “cannot be avoided by using the device of contract modification.” CCL
v. United States, 39 Fed. Cl. 780, 791 (1997).

       This Court has recognized, however, that CICA does not require a new bid procedure for
every change to a contract. Id. Rather, only contract modifications that fall outside the scope of
the original competed contract fall under the statutory competition requirement. Id. at 789 n.18.

       The Federal Circuit has adopted the standard for determining whether a contract
modification falls within the scope of the original contract established by the United States Court
of Claims. Northrop Grumman Corp. v. United States, 50 Fed. Cl. 443, 465 (2001). This
standard provides that:

       Under established case law, a cardinal change is a breach. It occurs when
       the government effects an alteration in the work so drastic that it effectively
       requires the contractor to perform duties materially different from those
       originally bargained for. By definition, then a cardinal change is so
       profound that it is not redressable under the contract, and thus renders the
       government in breach.



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AT&T Communications, Inc., 1 F.3d at 1205 (quoting Allied Materials & Equip. Co. v. United
States, 569 F.2d 562, 563–64 (1978)). The Federal Circuit has also recognized that a contract
modification generally falls within the scope of the original procurement if potential bidders
would have expected it to fall within the contract’s changes clause. Id.

          To determine whether a contract modification falls within CICA’s competition
requirement, the Court examines whether the contract as modified materially departs from the
scope of the original procurement. Id. To that end, the Court’s cardinal change analysis focuses
upon the scope of the entire original procurement in comparison to the scope of the contract as
modified. Id. In this regard, the Court has observed that there are two tests when considering
the cardinal change doctrine: First, when the dispute is between the contractor and the
government, the Court looks to whether the change was within the scope of the contract.
Northrop Grumman Corp., 50 Fed. Cl. at 465. Second, when the dispute originated within a
third-party competitor protest, the Court will decide whether the change was within the scope of
the competition. Id.

          Lastly, when potential bidders would have expected a modification to fall within the
changes clause of the contract, the modification will be found to be within the scope of the
original procurement. Id.; see also AT&T Communications, Inc., 1 F.3d at 1207. But, when a
contract modification is found to be outside the reasonable expectations of the bidders, the
government must show that it adequately advised the bidders that such a change might occur.2
Id.

          D.      Motions To Supplement The Administrative Record And Motions To Strike

           The Federal Circuit held in Axiom Resource Management, Inc. v. United States, that the
    “parties’ ability to supplement the administrative record is limited” and that the administrative
    record should only be supplemented “if the existing record is insufficient to permit meaningful
    review consistent with the [Administrative Procedure Act].” 564 F.3d 1374, 1379-81 (Fed. Cir.

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  This Court has recognized that the factors considered important to the cardinal change analysis include
modifications to the type of product or service being delivered or performed; the quantity of the product
or service; the performance period; and the cost between the solicitation as competed and the contract as
modified. Northrop Grumman Corp. v. United States, 50 Fed. Cl. 443, 466 (2001). The Court has also
recognized that changes in the type of product or service that were not anticipated due to their lack of
resemblance to the original procurement are usually found to be outside the scope of the procurement. Id.



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 2009); see also Caddell Constr. Co., Inc. v. United States, 111 Fed. Cl. 49, 93 (2013). The
 Federal Circuit has also recognized that the Supreme Court held in Camp v. Pitts that “‘the
 focal point for judicial review should be the administrative record already in existence, not
 some new record made initially in the reviewing court.’” Axiom Res. Mgmt., Inc., 564 F.3d at
 1379 (quoting Camp v. Pitts, 411 U.S. 138, 142 (1973)).

         This focus is maintained to prevent courts from using new evidence to “convert the
 arbitrary and capricious standard into effectively de novo review.” L-3 Commc’ns EOTech,
 Inc. v. United States, 87 Fed. Cl. 656, 671 (2009) (internal quotation marks omitted); see also
 Murakami v. United States, 46 Fed. Cl. 731, 735 (2000). And so, this Court has interpreted the
 Federal Circuit’s directive in Axiom, within the context of bid protest matters, to mean that
 supplementation of the administrative record is permitted to correct mistakes and fill gaps, but
 is not permitted when the documents proffered are unnecessary for an effective review of the
 government’s decision. L-3 Commc’ns EOTech, Inc., 87 Fed. Cl. at 672.

       Motions to strike are governed by RCFC 12(f), which states that: “[t]he court may strike
from a pleading an insufficient defense or any redundant, immaterial, impertinent, or scandalous
matter.” RCFC 12(f). “[F]ederal courts generally are reluctant to respond favorably to motions
to strike.” Kansas City Power & Light Co. v. United States, 131 Fed. Cl. 161, 165 (2017) (citing
Reunion, Inc. v. United States, 90 Fed. Cl. 576, 580-81 (2009)). And so, “[i]t has been the
practice of the United States Court of Federal Claims to decline to grant a motion to strike, where
the moving party is unable to show prejudice or confusion.” Waltner v. United States, 98 Fed.
Cl. 737, 766 (2011) (citations omitted). The Court may also deny a motion to strike when it does
not consider the challenged documents in its decision-making process. California Indus.
Facilities Resources, Inc. v. United States, 104 Fed. Cl. 617, 619 (2012).

       E.      Injunctive Relief

       Lastly, under its bid protest jurisdiction, the Court “may award any relief [it] considers
proper, including declaratory and injunctive relief.” 28 U.S.C. § 1491(b)(2); see also Centech
Grp., Inc. v. United States, 554 F.3d 1029, 1037 (Fed. Cir. 2009). In deciding whether to issue a
permanent injunction, the Court “considers: (1) whether . . . the plaintiff has succeeded on the
merits of the case; (2) whether the plaintiff will suffer irreparable harm if the [C]ourt withholds
injunctive relief; (3) whether the balance of hardships to the respective parties favors the grant of


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injunctive relief; and (4) whether it is in the public interest to grant injunctive relief.” PGBA,
LLC v. United States, 389 F.3d 1219, 1228-29 (Fed. Cir. 2004) (citing Amoco Prod. Co. v. Vill.
of Gambell, Alaska, 480 U.S. 531, 546 n.12 (1987) (“The standard for a preliminary injunction is
essentially the same as for a permanent injunction with the exception that the plaintiff must show
a likelihood of success on the merits rather than actual success.”); see also Centech Grp., Inc.,
554 F.3d at 1037. In this regard, the United States Court of Appeals for the Federal Circuit has
held that:

        No one factor, taken individually, is necessarily dispositive. If a
        preliminary injunction is granted by the trial court, the weakness of the
        showing regarding one factor may be overborne by the strength of the
        others. If the injunction is denied, the absence of an adequate showing with
        regard to any one factor may be sufficient, given the weight or lack of it
        assigned the other factors, to justify the denial.

FMC Corp. v. United States, 3 F.3d 424, 427 (Fed. Cir. 1993) (citations omitted).

        A plaintiff who cannot demonstrate success upon the merits cannot prevail upon a motion
for injunctive relief. Cf. Nat’l Steel Car, Ltd. v. Canadian Pacific Ry., Ltd., 357 F.3d 1319, 1325
(Fed. Cir. 2004) (finding that a plaintiff who cannot demonstrate likely success upon the merits
cannot prevail upon its motion for preliminary injunctive relief). Given this, this Court has
found success upon the merits to be “the most important factor for a court to consider when
deciding whether to issue injunctive relief.” Dellew Corp. v. United States, 108 Fed. Cl. 357,
369 (2012) (citing Blue & Gold Fleet, L.P. v. United States, 492 F.3d 1308, 1312 (Fed. Cir.
2007)). But, success upon the merits, alone, is not sufficient for a plaintiff to establish an
entitlement to injunctive relief. See Contracting, Consulting, Eng’g LLC v. United States, 104
Fed. Cl. 334, 353 (2012) ((“Although plaintiff’s entitlement to injunctive relief depends on its
succeeding on the merits, it is not determinative because the three equitable factors must be
considered, as well.”) (citations omitted)).

III.    LEGAL ANALYSIS

        The parties have filed cross-motions for judgment upon the administrative record on the
issues of whether: (1) the Army’s 2019 sole-source contracting action constitutes a cardinal
change; (2) the Army’s extension of the FMTV Contract term and delivery period violates
CICA; (3) the Army procured goods under an expired contract; (4) the Army improperly



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procured, or bundled, tactical vehicles for foreign military sales under the FMTV Contract; (5)
the government violated CICA’s automatic stay; and (6) Navistar is entitled to injunctive relief.
See generally Pl. 1st Mot.; Pl. 2nd Mot.; Def. Mot.; see also Def.-Int. Mot.

       In its consolidated cross-motion, the government also raises the issue of whether Navistar
has waived certain arguments related to Navistar’s 2016 protest before the GAO. Def. Mot. at
30-31. In addition, Navistar has moved to strike the Declaration of Lt. Col. Michael K. Riley;
the Army’s Determination and Findings dated September 19, 2016; and certain references to a
July 12, 2019, telephone call between counsel, filed in support of the government’s consolidated
cross-motion. See generally Pl. 1st Mot. to Strike; Pl. 2nd Mot. to Strike. Lastly, Navistar has
filed motions for a temporary restraining order and for a preliminary injunction, and to complete
the administrative record and for leave to conduct limited depositions. See generally Pl. Mot. for
TRO or PI; Pl. Mot. to Complete AR.

       For the reasons that follow, the Court: (1) DENIES Navistar’s motions for judgment
upon the administrative record; (2) GRANTS the government’s consolidated cross-motion for
judgment upon the administrative record; (3) GRANTS Oshkosh’s cross-motion for judgment
upon the administrative record; (4) GRANTS-IN-PART Navistar’s motion to strike the
Declaration of Lt. Col. Michael K. Riley; (5) GRANTS Navistar’s motion to strike the Army’s
Determination and Findings dated September 19, 2016, and certain references to the July 12,
2019, telephone call between counsel; (6) DENIES-AS-MOOT Navistar’s motions for a
temporary restraining order and for a preliminary injunction, and to complete the administrative
record and for leave to conduct limited depositions; and (7) DISMISSES the complaints.

       A.      The Court Grants Navistar’s Motions To Strike

       As an initial matter, the Court GRANTS-IN-PART Navistar’s motion to strike the
Declaration of Lt. Col. Michael K. Riley (the “Riley Declaration”), which has been filed in
support of the government’s consolidated cross-motion. A careful review of the Riley
Declaration shows that paragraphs 3 to 17 of the declaration provide background and views
regarding, among other things, the Army’s September 2016 J&A and the Army’s decision to
amend this justification and approval. Def. Mot. Ex. A at ¶¶ 3-17. These portions of the Riley
Declaration do not correct mistakes, or fill any gaps, in the existing administrative record before
the Court. See generally AR. Given this, the Court concurs with Navistar that paragraphs 3 to


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17 of the Riley Declaration are not properly before the Court. Pl. 1st Mem. at 4-7; L-3
Commc’ns EOTech, Inc. v. United States, 87 Fed. Cl. 656, 672 (2009) (supplementation of the
administrative record is permitted to correct mistakes and fill gaps, but is not permitted when the
documents proffered are unnecessary for an effective review of the government’s decision).

       The government persuasively argues, however, that other paragraphs of the Riley
Declaration have been appropriately filed in this bid protest litigation. Def. Resp. to Pl. 1st Mot.
to Strike at 5-6. Notably, paragraphs 18 to 20 of the Riley Declaration address the harm that the
Army will allegedly suffer if the production of the tactical vehicles at issue in this litigation is
enjoined. Def. Mot. Ex. A at ¶¶ 18-20. This Court has held that it may consider information that
is not contained in the administrative record, as part of the Court record in a bid protest dispute,
if the information pertains to the factors that the Court weighs in deciding whether to grant
injunctive relief. See, e.g., AshBritt, Inc. v. United States, 87 Fed. Cl. 344, 366-67 (2009) (“In
general, it is appropriate to add evidence pertaining to prejudice and the factors governing
injunctive relief to the record in a bid protest—not as a supplement to the AR, but as part of this
Court’s record.”). Because paragraphs 18 to 20 of the Riley Declaration address Navistar’s
request for injunctive relief, the information contained in these paragraphs of the Riley
Declaration is appropriately before the Court. And so, the Court GRANTS-IN-PART
Navistar’s motion to strike the Riley Declaration and the Court STRIKES paragraphs 3 to 17 of
this declaration.

       The Court must also strike the Army’s Determination and Findings dated September 19,
2016, and certain references to a July 12, 2019, call between counsel, which have been filed in
support of the government’s consolidated cross-motion. Pl. 1st Mem. at 7-9; see also Pl. 2nd
Mot. to Strike. Neither of these matters are included in the administrative record. See generally
AR. Navistar also persuasively argues that this information is not necessary for the Court to
conduct a meaningful review of these bid protest disputes. Pl. 1st Mem. at 4; Pl. 2nd Mot. to
Strike at 5; see also L-3 Commc’ns EOTech, Inc. v. United States, 87 Fed. Cl. 656, 672 (2009).
And so, the Court GRANTS Navistar’s motion to strike and STRIKES the Army’s




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Determination and Findings, dated September 19, 2016, and any references to a July 12, 2019,
call between counsel, from the government’s consolidated cross-motion.3

        B.         Navistar May Not Pursue Certain Claims Related To The FMTV Contract

        Turning to the merits of Navistar’s claims, the administrative record shows that Navistar
is precluded from raising certain claims related to the FMTV Contract, because Navistar waived
these claims under the terms of the settlement agreement that resolved its 2016 protest before the
GAO. Navistar alleges in this litigation that the Army’s 2019 sole-source contracting action is
arbitrary, capricious, or contrary to law, because, among other reasons, the Army improperly
placed orders for tactical vehicles under an expired contract and bundled certain foreign military
sales and domestic sales orders under the FMTV Contract. Pl. 1st Mot. at 30, 34-35. The record
evidence shows, however, that Navistar may not pursue such claims in this litigation.

        It is undisputed that Navistar previously protested the Army’s decision to extend the
FMTV Contract and to procure additional tactical vehicles under that contract before the GAO in
2016. Compl. at ¶ 39; Def. Mot. at 8, 30. It is also undisputed that Navistar and the Army
entered into a settlement agreement to resolve that GAO protest on November 14, 2016. AR Tab
2 at 212-14. And so, the terms of that settlement agreement are relevant to Navistar’s claims in
this litigation.

        A review of the settlement agreement makes clear that Navistar waived all claims related
to the FMTV Contract and the Army’s 2016 decision to modify the FMTV Contract in the
settlement agreement. Specifically, the settlement agreement provides, in relevant part, that:

        This Settlement Agreement constitutes a full release and satisfaction of
        Navistar Defense of any and all claims, actual or perceived, known or
        unknown, arising out of Navistar Defense’s GAO Protests No. B-401865.9,
        B-401865.10, and B-401865.11. Except as provided in paragraph 6 above,
        Navistar Defense remises, releases and discharges the Army, its officers,
        and employees of and from all civil liabilities, obligations, claims, appeals
        and demands which it now has or hereafter may have, arising out of or in
        any way related to Navistar Defense’s GAO Protests No. B-401865.9, B-
        401865.10, and B-401865.11.


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  Because the Court strikes the aforementioned information from the government’s consolidated cross-
motion, the Court DENIES-AS-MOOT Navistar’s motions in the alternative to complete or supplement
the administrative record. Pl. 2nd Mot. to Strike at 6-7.



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AR Tab 2 at 213-214 (emphasis supplied). Because the settlement agreement expressly releases
the Army from any civil liability related to Navistar’s challenge of the FMTV Contract and the
Army’s decision to modify that contract in 2016, the Court agrees with the government that
Navistar may not pursue claims related to the decision to extend the contract in 2016 or a
challenge of the terms of the FMTV Contract as they relate to foreign military sales. And so, the
Court must DENY these claims.

       C.      The Army’s 2019 Contracting Action Is Not A Cardinal Change

       A review of the administrative record also makes clear that the Army’s 2019 sole-source
contracting action is not a cardinal change, as Navistar suggests.

       It is well-established that a cardinal change “occurs when the government effects an
alteration in the work so drastic that it effectively requires the contractor to perform duties
materially different from those originally bargained for.” AT&T Communications, Inc., 1 F.3d
1201, 1205 (Fed. Cir. 1993) (quoting Allied Materials & Equip. Co. v. United States, 569 F.2d
562, 563–64 (1978)). And so, to determine whether the Army’s 2019 modification of the FMTV
Contract falls within CICA’s competition requirement, the Court considers whether the Army’s
2019 decision to procure an additional 1,916 tactical vehicles under the FMTV Contract
materially departs from the scope of the original procurement for that contract. Id.; see also
Northrop Grumman Corp. v. United States, 50 Fed. Cl. 443, 465 (2001). The administrative
record reveals that the Army’s modification is not a cardinal change for several reasons.

       First, the record evidence shows that the Army’s 2019 sole-source contracting action did
not materially differ from the original procurement for the FMTV Contract, because the FMTV
Contract authorizes the Army to procure the number of tactical vehicles that it requires during
the term of that contract. The FMTV Contract provides, in relevant part, that “[t]his is a
requirements contract for the supplies or services specified, and effective for the period stated.”
AR Tab 14 at 1442. The solicitation for the FMTV Contract also provides that “[t]he purpose of
this requirements contract is to provide the [g]overnment with the ability to acquire [FMTVs] in
any configuration described herein.” AR Tab 5 at 337. And so, the plain terms of the FMTV
Contract and the solicitation for this contract make clear that the FMTV Contract authorizes the
Army to procure the number of tactical vehicles that it needs during the term of the contract.




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       The Army’s 2019 decision to order additional tactical vehicles from Oshkosh is also
consistent with the terms of the FMTV Contract and the solicitation. The administrative record
shows that the Army ordered an additional 1,916 tactical vehicles from Oshkosh, between
February and June 2019, to satisfy its need for additional tactical vehicles for Department of
Defense and foreign military sales orders. AR Tab 121.4 at 6995-96; AR Tab 121.6 at 7014-15;
AR Tab 105 at 5889 (stating that additional tactical vehicles were required “due to unanticipated
additional ordered quantities from FMS and other DoD customers”). As discussed above, the
FMTV Contract and the solicitation for the contract expressly provide that the Army may order
the number of tactical vehicles that it requires under the contract. AR Tab 14 at 1442. Given
this, the record evidence makes clear that the Army’s decision in 2019 to order additional tactical
vehicles falls within the scope of the plain terms of the FMTV Contract and the original
procurement for this contract. See generally AR Tabs 5, 14, 105.

       The record evidence also shows that the Army’s 2019 decision to order additional tactical
vehicles falls within the scope of the FMTV Contract as modified by the Army in 2016. It is
without dispute that the Army modified the FMTV Contract in September 2016 to procure
additional tactical vehicles from Oshkosh. AR Tab 106 at 5895. In this regard, the
administrative record shows that the Army’s September 2016 J&A extends the term of the
FMTV Contract to August 25, 2019. Id. The September 2016 J&A also provides that “[t]his
action adds an estimated $575M in FY 2017 through FY 2019 FMTV requirements, resulting in
a total contract duration of ten years and a total estimated contract value of $6.24 billion.” Id.
Because the September 2016 J&A extends the term for the FMTV Contract to August 25, 2019,
the record evidence shows that the Army’s procurement of additional tactical vehicles between
February and June of 2019 appropriately took place during the term of the FMTV Contract as
modified.

       The record evidence also shows that Navistar and other potential offerors were
adequately notified of the possibility that the Army would procure additional tactical vehicles
during the term of the FMTV Contract. As discussed above, the Army’s September 2016 J&A
makes clear that the Army extended the term of the FMTV Contract for three years, and
increased the value of that contract, for the purposes of procuring additional tactical vehicles. Id.
Given this, the record evidence makes clear that Navistar, and any other potential offerors,
should have expected the possibility that the Army would decide to increase the number of


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tactical vehicles ordered under the FMTV Contract. Northrop Grumman Corp., 50 Fed. Cl. at
465.

        The record evidence similarly shows that the Army appropriately justified its decision to
procure the additional tactical vehicles at issue in this litigation as a sole-source procurement.
The Army’s September 2016 J&A explains that the Army decided to extend the FMTV Contract,
and to procure additional tactical vehicles from Oshkosh, due to concerns about the unacceptable
delay that would occur if the Army conducted a competitive procurement for these vehicles.
Notably, the September 2016 J&A provides that:

        In order to compete this requirement, new sources would need time to build
        and provide vehicles for testing, resulting in approximately a 24 month
        delay in delivery of vehicles to the end user.

AR Tab 106 at 5903. The record evidence also shows that the Army explains in the September
2016 J&A that “[o]nly FMTVs from Oshkosh can meet the customer’s validated requirements
within the required timeframe of initial vehicle deliveries.” Id. at 5902. And so, the Army
provided a justification for its decision to forgo a full and open competition to procure these
additional vehicles.

        The record evidence also shows that the Army remained concerned about the potential
for an unacceptable delay of the delivery of additional tactical vehicles when the Army decided
to procure additional tactical vehicles from Oshkosh in 2019. In its June 2019 amendment to the
September 2016 J&A, the Army explains that it needed to procure the additional vehicles from
Oshkosh because it would have no contractual mechanism to order the tactical vehicles produced
by Oshkosh once the FMTV Contract expires on August 25, 2019. AR Tab 105 at 5889.4 The
Army’s Determination and Findings dated June 17, 2019, also explains that “[t]he extension [of


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 During oral argument, the government argued that the Army’s 2019 sole-source contracting action did
not materially alter the FMTV Contract, because the increase in the value of the FMTV Contract was only
a 55 percent dollar increase ($575 million to $895 million) from the value of the FMTV Contract as
modified in 2016. Oral Arg. Tr. at 41:13-41:20. Navistar’s argument that potential bidders would not
have anticipated that the Army would order additional tactical vehicles in 2019 is also belied by the
evidence in the record showing that the Army modified the FMTV Contract on several occasions to order
additional tactical vehicles. Notably, on June 12, 2015, the Army issued a justification and approval to
add an additional 1,262 vehicles to the FMTV Contract. AR Tab 109 at 5935. Thereafter, on January 26,
2016, the Army also issued a justification and approval adding an additional 1,551 tactical vehicles to the
FMTV Contract. AR Tab 107 at 5912.



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the delivery period for the FMTV Contract] bridges the production gap between the FMTV
A1P2 and FMTV A2 and mitigates impacts to the industrial base.” AR Tab 111 at 5958. And
so, the Court concurs with the government that these documents explain and support the Army’s
2019 sole-source contracting action.

        The Court is also unpersuaded by the arguments that Navistar advances to show that the
Army’s 2019 sole-source contracting action constitutes a cardinal change. First, Navistar
contends that the Army could not procure additional vehicles from Oshkosh in 2019, because the
Army’s September 2016 J&A estimates that it would only require 1,774 additional tactical
vehicles. Pl. 1st Mot. at 17. But, it is well-established that the Army’s estimate of its
requirements is not a guarantee or warranty of the exact quantity required. Shader Contractors,
Inc. v. United States, 149 Ct. Cl. 535, 545 (1960).

        Navistar also points to no evidence in the administrative record to show that the Army
failed to estimate the number of tactical vehicles that it expected to require in good faith. See
generally Pl. 1st Mot.; see also Technical Assistance Intern., Inc. v. United States, 150 F.3d
1369, 1372 (Fed. Cir. 1998). Navistar similarly fails to identify any evidence in the
administrative record to show that the Army could not procure more than the 1,774 additional
tactical vehicles originally estimated in the September 2016 J&A. Pl. 1st Mot. at 17-20. As
discussed above, the plain terms of the FMTV Contract and the solicitation for the contract make
clear that the FMTV Contract is a requirements contract. Given this, Navistar simply has not
shown that the September 2016 J&A limits the number of vehicles that the Army may procure.

        Navistar’s argument that the Army’s 2019 sole-source contracting action is improper,
because the Army previously issued a justification and approval before procuring additional
tactical vehicles, is equally unavailing. Id. at 19-20. While Navistar correctly observes that the
Army previously issued a justification and approval before placing orders for additional tactical
vehicles under the FMTV Contract, Navistar points to no statute or regulation that requires that
the Army do so.5 Id. Given this, the Court is not persuaded that the Army’s decision not to issue

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  Navistar also correctly observes that the Army placed its order for additional tactical vehicles before
issuing the amendment to the September 2016 J&A and its June 17, 2019 Determination and Findings.
Pl. 1st Mot. at 23. But, to the extent that the Army erred in doing so, Navistar fails to explain how it has
been prejudiced by such an error. Id. at 35-38; see also Banknote Corp. of Am., Inc. v. United States, 365
F.3d 1345, 1351 (Fed. Cir. 2004). Navistar’s argument that the Army could not amend the September
2016 J&A is also misplaced. Id. at 26-27. As the government persuasively argues in its consolidated


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a justification and approval before ordering additional tactical vehicles from Oshkosh in 2019
shows that the Army’s 2019 sole-source contracting action materially departs from the scope of
the original procurement for the FMTV Contract.

        Because the record evidence shows that the Army’s 2019 sole-source contracting action
did not materially differ from the original procurement for the FMTV Contract—and that this
contracting action is authorized under the terms of the FMTV Contract—Navistar has not shown
that the Army’s contracting action constitutes a cardinal change. And so, and the Court
DENIES this claim.

        D.      Navistar’s Remaining Claims Related To The
                Army’s 2019 Sole-Source Contracting Action Lack Merit

        Navistar’s remaining challenges to the Army’s 2019 sole-source contracting action are
also unsubstantiated by the administrative record. First, Navistar’s claim that the Army
improperly extended the term of the FMTV Contract is belied by the evidence in the
administrative record showing that the Army’s 10-year extension of the term of the FMTV
Contract is consistent with CICA. Pl. 1st Mot. at 21-22; Pl. 1st Resp. at 7-8. Pursuant to Section
2304a(f) of CICA, “[t]he total contract period as extended may not exceed 10 years unless such
head of an agency determines in writing that exceptional circumstances necessitate a longer
contract period.” 10 U.S.C. § 2304a(f). As discussed above, the record evidence in this case
shows that the Army extended the term of the FMTV Contract until August 25, 2019—ten years
after the original effective date for that contract. AR Tab 14 at 879, 882; AR Tab 106 at 5895.
Given this, the record evidence shows that the Army’s contract extension did not violate CICA.

        Navistar’s claim that the Army improperly extended the performance period under the
FMTV Contract is also unsubstantiated. As Navistar correctly observes, Section 217.204(e)(iii)
of the Defense Federal Acquisition Regulation Supplement (“DFARS”) requires that an agency
obtain approval from a senior procurement executive before extending a contract if performance
under that contract will extend more than one year beyond the 10-year limit. DFARS
217.204(e)(iii). Again, the record evidence shows that the Army complied with this requirement.



cross-motion, FAR 1.102(d) allows the Army to assume that its decision to amend this justification and
approval is permissible, unless doing so is explicitly prohibited by the FAR, statute, case law, executive
order or other regulation. Def. Mot. at 26-29.


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        The Army’s Determination and Findings dated, June 17, 2019, states that the Army
“extends the delivery period [for the FMTV Contract] from [August 24, 2020] to [August 24,
2021], for a total of 12 years, for all orders issued during the contract’s 10-year ordering period.”
AR Tab 111 at 5959. Because this determination and findings extends the performance period
for the FMTV Contract for more than one year beyond the 10-year limit for the term of the
FMTV Contract, the Army appropriately obtained approval from a senior procurement official
for this contract extension. AR Tab 111 at 5960. In this regard, the administrative record also
shows that the Deputy Assistant Secretary of the Army for Procurement signed the Army’s
Determination and Findings, dated June 17, 2019—consistent with the requirements of Section
217.204(e)(iii). Id. And so, again, Navistar has not shown that the Army’s extension of the
FMTV Contract is contrary to CICA, or the applicable procurement regulations.6

        E.      Navistar’s Request For Injunctive Relief
                Related To The CICA Automatic Stay Is Moot

        Navistar’s final claim—that the Army disregarded the automatic stay requirement under
CICA during Navistar’s recent protest before the GAO—also fails because this claim is moot.

        Navistar contends—and the government appears not to dispute—that the Army did not
stop work on its order for additional tactical vehicles once Navistar filed a GAO protest
challenging the Army’s 2019 sole-source contracting action.7 Pl. 2nd Mot. at 11-15; Def. Reply
at 27-29; see also 31 U.S.C. § 3553(d)(3)(B) (prohibiting a federal agency from permitting
performance by a contract awardee while a GAO protest is pending, absent an override of the
CICA stay). And so, Navistar seeks, among other things: (1) an injunction and grant of
declaratory or other relief “as necessary to remedy the Army’s failure to order Oshkosh to stop
work;” (2) an injunction prohibiting the Army from “making any argument in any bid protest
regarding the costs from continued performance of orders protested in the GAO Protest;” (3) an


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 Navistar’s contention that the Army may not fill foreign military sales orders under the terms of the
FMTV Contract is similarly belied by the record evidence. The FMTV Contract provides that the Army
“may issue delivery orders against this contract to fulfill Foreign Military Sales commitments undertaken
by the U.S. Government on behalf of a foreign country.” AR Tab 14 at 1418.
7
  Navistar alleges that the Army: (1) failed to comply with CICA and its implementing regulations; (2)
failed to comply with the CICA automatic stay override requirements; (3) failed to notify GAO of its
noncompliance with the CICA automatic stay; and (4) violated the Anti-deficiency Act. Pl. 2nd Mot. at
11-15.


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injunction prohibiting the Army from relying on its continued performance of the orders
protested to support any future sole-source action; and (4) entry of a declaratory judgment that
the Army’s failure to order Oshkosh to cease performance of the orders protested was arbitrary,
capricious, or contrary to law. Pl. 2nd Mot. at 20. Because Navistar has withdrawn its GAO
protest, the Court agrees with the government that Navistar’s claim for this injunctive relief is
moot.

        In Harris Patriot Healthcare Solutions v. United States, this Court was previously
confronted with the question of whether a protestor’s request for injunctive relief based upon an
alleged violation of CICA’s automatic stay requirement was moot, because the underlying GAO
protest had been dismissed. 95 Fed. Cl. 585 (2010). In that case, the Department of the Interior
(“DoI”) failed to immediately comply with the CICA automatic stay when the GAO protest was
filed, but the agency later implemented the stay of performance shortly after the protestor filed a
bid protest action challenging the violation of the CICA automatic stay in this Court. Id. at 590.
After the DoI took corrective action related to the GAO protest, the GAO protest was dismissed.
Id. at 591.

        The Court held in Harris that the dismissal of the GAO protest “removed a prerequisite
to CICA’s automatic stay—the pendency of a GAO protest.” Id. at 593. For that reason, the
Court observed that it was unclear what injunctive relief plaintiff would be entitled to “maintain
the status quo” in connection with that bid protest litigation. Id. The Court also held that, while
the DoI’s voluntary issuance of a stop work order would not necessarily moot plaintiff’s claim,
there was no reasonable expectation that the agency’s violation of the CICA stay would be
repeated, because “there was no longer any CICA stay in effect due to the dismissal of the GAO
protest.” Id. at 595. And so, the Court concluded that plaintiff’s request for injunctive relief was
moot. Id. at 593-94.

        Similarly here, there is no dispute that Navistar voluntarily withdrew its GAO protest of
the Army’s 2019 sole-source contracting action on August 26, 2019, and there is no protest
currently pending before the GAO. AR Tab 168 at 11798; AR Tab 169 at 11799. And so, like
in Harris, there is no reasonable expectation that the Army’s violation of the CICA stay would
be repeated, because there is no longer any CICA stay in effect due to the dismissal of Navistar’s
GAO protest. Harris, 95 Fed. Cl. at 595. Navistar contends, nonetheless, that injunctive relief is



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warranted here, because the government may rely upon the performance costs that the Army
incurred during the pendency of Navistar’s GAO protest to argue against an award of injunctive
relief in this bid protest litigation. Pl. 2nd Mot. at 16-17; Pl. 2nd Reply at 13. But, as the
government correctly observes, the government has not raised such an argument in this litigation.
Def. Mot. at 34-41; see also Def. Reply at 28-29.

        Navistar’s request for an injunction prohibiting the Army from relying upon its continued
performance of the orders protested to support “any future sole source action” is also
problematic. Pl. 2nd Mot. at 20. Navistar points to no evidence to show that the Army plans to
order additional tactical vehicles from Oshkosh upon a sole-source basis. See generally id.; Pl.
2nd Reply. Given this, the Court DENIES Navistar’s CICA override claim as moot. Harris, 95
Fed. Cl. at 595.

        F.      Navistar Is Not Entitled To Injunctive Relief

        As a final matter, Navistar also has not shown that it is entitled to the other injunctive
relief that it seeks in this case. Navistar requests, among other things, that the Court enjoin the
Army from proceeding with existing orders or placing new orders under the FMTV Contract. Pl.
1st Mot. at 38; Pl. 2nd Mot. at 20. But, as discussed above, Navistar has not succeeded upon the
merits of any of its claims challenging the Army’s 2019 sole-source contracting action in this
litigation. Because Navistar has not demonstrated success upon the merits of its claims, Navistar
cannot prevail on a motion for permanent injunctive relief. Argencord Mach. & Equip., Inc. v.
United States, 68 Fed. Cl. 167, 176 (2005). And so, the Court must also DENY Navistar’s
requests for injunctive relief.

IV.     CONCLUSION

        In sum, the Court agrees with Navistar that certain portions of the Riley Declaration; the
Army’s September 19, 2016 Determination and Findings; and the references to a July 12, 2019,
phone call between counsel, should be stricken from the government’s consolidated cross-motion
in this bid protest litigation. The administrative record also shows that Navistar has waived
certain arguments related to the FMTV Contract under the terms of its settlement agreement with
the Army.




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        In addition, the record evidence makes clear that the Army’s 2019 sole-source
contracting action does not constitute a cardinal change, or violate the FMTV Contract or
applicable law, and that Navistar’s remaining challenges to this contracting action are not
supported by the administrative record. Lastly, Navistar’s CICA override claim is moot and
Navistar has not shown that it is entitled to the injunctive relief that it seeks in this litigation.

        And so, for the foregoing reasons, the Court:

        1. DENIES Navistar’s motions for judgment upon the administrative record;
        2. GRANTS the government’s consolidated cross-motion for judgment upon the
            administrative record;
        3. GRANTS Oshkosh’s cross-motion for judgment upon the administrative record;

        4. GRANTS-IN-PART Navistar’s motion to strike the Declaration of Lt. Col. Michael
            K. Riley;
        5. GRANTS Navistar’s motion to strike the Army’s Determination and Findings dated
            September 19, 2016, and certain references to the July 12, 2019, telephone call
            between counsel;
        6. DENIES-AS-MOOT Navistar’s motions for a temporary restraining order and for a
            preliminary injunction, and to complete the administrative record and for leave to
            conduct limited depositions; and
        7. DISMISSES the complaints.

        The Clerk shall enter judgment accordingly.

        Each party to bear its own costs.

        Some of the information contained in this Memorandum Opinion and Order may be
considered protected information subject to the Protective Order entered in this matter on August
27, 2019. This Memorandum Opinion and Order shall therefore be filed UNDER SEAL. The
parties shall review the Memorandum Opinion and Order to determine whether, in their view,
any information should be redacted in accordance with the terms of the Protective Order prior to




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publication. The parties shall FILE a joint status report identifying the information, if any, that
they contend should be redacted, together with an explanation of the basis for each proposed
redaction on or before January 13, 2020.

       IT IS SO ORDERED.


                                                   s/ Lydia Kay Griggsby
                                                   LYDIA KAY GRIGGSBY
                                                   Judge




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